            Case 1:16-cr-00371-RA Document 430-1 Filed 05/03/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x

IN THE MATTER OF AN APPLICATION
TO BRING PERSONAL ELECTRONIC DEVICE(S)
OR GENERAL PURPOSE COMPUTING DEVICE(S)
INTO THE COURTHOUSES OF THE
SOUTHERN DISTRICT OF NEW YORK
FOR USE IN A PROCEEDING OR TRIAL
___________________________________________ x

          The following Order is subject to the definitions, obligations and restrictions imposed
pursuant to Standing Order M10-468, as Revised. Upon submission of written application to
this Court, it is hereby
          ORDERED that the following attorney(s) are authorized to bring the Personal Electronic
Device(s) and/or the General Purpose Computing Device(s) (collectively, “Devices”) listed below
into the Courthouse for use in a proceeding or trial in the action
           United States of America v. Jason Galanis, et al.
captioned___________________________________________________________________
                                                                   16-cr-371
_____________________________________________________________, No. _________.
                                                              5/3/18-7/6/18
The date(s) for which such authorization is provided is (are) __________________                    .

 Attorney                                              Device(s)


 1.
        Michael Tremonte                                One iphone and one laptop

 2.
        Noam Biale                                       One iphone and one laptop

 3.     Emma Spiro                                       One iphone and one laptop

                                       (Attach Extra Sheet If Needed)

         The attorney(s) identified in this Order must present a copy of this Order when entering
the Courthouse. Bringing any authorized Device(s) into the Courthouse or its Environs
constitutes a certification by the attorney that he or she will comply in all respects with the
restrictions and obligations set forth in Standing Order M10-468, as Revised.

                     SO ORDERED:

Dated:               _____________

                                             ____________________________________________
                                                            United States Judge


Revised: February 26, 2014
